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                     EXHIBIT G
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                      CASE NO. 14-CV-80468-MIDDLEBROOKS/BRANNON

   SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,

   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                                  Defendants.

   ____________________________________________/

            ORDER GRANTING RECEIVER’S SIXTH INTERIM APPLICATION
            FOR AN ORDER APPROVING AND AUTHORIZING PAYMENT OF
           FEES AND EXPENSES OF THE RECEIVER AND HIS PROFESSIONALS

          THIS CAUSE comes before the Court on the Receiver’s Sixth Interim Application for an
   Order Approving and Authorizing Payment of Fees and Expenses of the Receiver and his
   Professionals (the “Application”) [DE ____] for the period of March 1, 2018 to August 31, 2019
   (the “Application Period”). I have reviewed the Application and am otherwise fully advised in
   the premises. After reviewing the Application, finding that the fees therein are reasonable,
   necessary, and consummate with the skills and experience required for the activities performed
   and described therein, I find that there is good cause to grant the Application.
          Accordingly, pursuant to Paragraph 14 of the Court’s Order Reappointing Receiver [DE
   173], the Court’s Order Granting Receiver’s Motion to Expand Receivership to Include My Gee
   Bo, Inc. [DE 26], and the Court’s Order Granting Receiver’s Motion to Expand Receivership to
   Include JOLA Enterprises Inc. and PSCS Holdings, LLC [DE 168], it is hereby
          ORDERED AND ADJUDGED as follows:
          1.      The Application [DE____] is GRANTED and APPROVED.
          2.      The total amount of fees and costs incurred by the Receiver during the Application
   Period in the amount of $39,898.00 (comprised of $39,870.00 in fees and $28.00 in costs) is
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   hereby APPROVED.
          3.      The Receiver is AUTHORIZED to distribute a payment to himself in the amount
   of $39,898.00 (comprised of $39,870.00 in fees and $28.00 in costs).
          4.      The total amount of fees and costs incurred by the Receiver’s lead counsel, Sallah,
   Astarita & Cox, LLC, during the Application Period of $252,168.84 (comprised of $241,305.00
   of fees and $10,863.84 of costs) is hereby APPROVED.
          5.      The Receiver is AUTHORIZED to distribute a payment to his lead counsel,
   Sallah, Astarita & Cox, LLC, in the amount of $252,168.84 (comprised of $241,305.00 of fees
   and $10,863.84 of costs).
          6.      The total amount of fees and costs incurred by the Receiver’s counsel, Law Office
   of Robert Carey, PL, during the Application Period of $79,954.11 (comprised of $79,092.00 of
   fees and $862.11 of costs) is hereby APPROVED.
          7.      The Receiver is AUTHORIZED to distribute a payment to the Receiver’s counsel,
   Law Office of Robert Carey, PL, in the amount of $79,954.11 (comprised of $79,092.00 of fees
   and $862.11 of costs).
          8.      The total amount of fees incurred by the Receiver’s counsel, Akerman LLP, during
   the Application Period of $4,161.70 (comprised of $4,160.00 of fees and $1.70 of costs) is hereby
   APPROVED.
          9.      The Receiver is AUTHORIZED to distribute a payment to the Receiver’s counsel,
   Akerman LLP, in the amount of $4,161.70 (comprised of $4,160.00 of fees and $1.70 of costs).
          10.     The total amount of fees and costs incurred by the Receiver’s forensic accountants,
   KapilaMukamal, LLP, during the Application Period in the amount of $148,365.30 (comprised
   of $147,030.60 of fees and $1,334.70 of costs) is hereby APPROVED.
          11.     The Receiver is AUTHORIZED to distribute a payment to the Receiver’s forensic
   accountants, KapilaMukamal, LLP, in the amount of $148,365.30 (comprised of $147,030.60 of
   fees and $1,334.70 of costs).
          12.     The Receiver and his professionals are entitled to the above approved and
   authorized distributions from assets and funds presently in the possession or control of, or which
   may be received by, the Receivership Estate.




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         DONE AND ORDERED in Chambers in West Palm Beach, Florida this _______ day of

   ___________________, 2020.


                                        _______________________________
                                        DONALD M. MIDDLEBROOKS
                                        UNITED STATES DISTRICT JUDGE


   Copies to: Counsel of Record

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